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      1   TOM STANLEY
          315 West 9th Street
      2   Suite 906
          Los Angeles, Ca. 90015
      3   State Bar No. 45990
          (818) 986-1506
      4
          Attorney for Defendant
      5   CARLOS SARABIA
      6

      7

      8
                                       UNITED STATES DISTRICT COURT
      9
                                       EASTERN DISTRICT OF CALIFORNIA
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     13
          UNITED STATES OF AMERICA,                   ) CASE NO. 07-315 OWW
                                                      )
     14
                          Plaintiff,                  )
                                                      )
     15
                                                      ) MOTION TO (1) VACATE TRIAL
                                                      ) CONFIRMATION HEARING; (2) VACATE
     16
                                                      ) TRIAL DATE; (3) SET STATUS
                                                      ) CONFERENCE; AND
                    vs.                               ) ORDER; DECLARATION OF TOM
     17
                                                      ) STANLEY
     18
                                                      )
                                                      )
     19
          CARLOS SARABIA                              )
                                                      )
                                                      )
     20
                                                      )
                          Defendant.                  )
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                                                      )_
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     24
                 Defendant, Carlos Sarabia, by and through his counsel, Tom Stanley, hereby moves this

     25   Court to: (1) Vacate the Trial Confirmation Hearing set for September 28, 2009; (2) Vacate the
     26   Trial Date set for October 6, 2009; and (3) Set a Status Conference. The motion is made on the
     27
          grounds of defense counsel’s health issues, as set forth in Declaration of Tom Stanley. It is
     28



          SARABIA-MOTION & ORDER                 1




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      1   further requested that time be excluded from September 28, 2009 until the date of the Status
      2
          Conference.
      3
          Dated: September 24, 2009.
      4

      5

      6                                              /s/Tom Stanley
                                                     TOM STANLEY
      7                                              Attorney for Defendant
      8
                                                     OSBALDO SARABIA

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          SARABIA-MOTION & ORDER               2



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      1                              DECLARATION OF TOM STANLEY
      2
                  I, TOM STANLEY, declare as follows:
      3
                  1. I am the attorney of record for the defendant and am duly authorized to practice law
      4

      5
          before this Court. This declaration is bases upon my personal knowledge and I am competent to

      6   testify the matters set forth herein.
      7           2. On September 16, 2009, I had a medical exam with my Kaiser physician. He
      8
          determined that I should undergo an Echo Cardiogram test and Treadmill test. The tests were
      9
          scheduled for Monday September 21 and Wednesday September 23. The results of the Echo
     10

     11   Cardiogram test disclosed a problem and I was scheduled for consultation with a Cardiologist

     12   today, September 24. The Cardiologist informed me that my aortic valve is not functioning
     13
          properly I will need surgery to replace it. Dr, Shah referred to the Kaiser Sunset Cardiac Unit to
     14
          schedule the surgery. I was also scheduled for an Angiogram on Monday September 28, to
     15
          determine if I have blocked arteries that would require by-pass surgery.
     16

     17           3. In the afternoon, September 24, I telephoned AUSA Kathleen Servatius and informed

     18   her of the situation.
     19
                  4. For the reasons set forth above, I am requesting that this Court Vacate the Trial
     20
          Confirmation Hearing and Trial Date and set a Status Hearing in approximately six weeks so my
     21
          health situation can be determined. My suggestion would be November 16, 2009 or any other
     22

     23   date acceptable to this Court and counsel.
     24           I declare that the foregoing is true and correct to the best of my knowledge. Executed on
     25
          September 24, 2009, at Los Angeles, California.
     26
                                                               /s/________________
     27                                                         TOM STANLEY
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          SARABIA-MOTION & ORDER                  3




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      1                                               ORDER
      2
                 Based upon the motion of defendant and the Declaration of Tom Stanley, IT IS HEREBY
      3
          ORDERED that (1) the Trial Confirmation Hearing set for September 28, 2009 is vacated; (2)
      4

      5
          the Trial Date set for October 6, 2009 is vacated; (3) the case is set for a Status Conference on

      6   November 16, 2009 at 1:30 in courtroom 3 before Senior Judge Oliver W. Wanger . IT IS
      7   FURTHER ORDERED that the time should be excluded from the computation of time for
      8
          commencement of trial under the Speedy Trial Act based upon the need to resolve the medical
      9
          issues of defense counsel.
     10

     11       IT IS SO ORDERED

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     13
          Dated: _September 25, 2009___.                  __/s/ OLIVER W. WANGER________
     14                                                   OLIVER W. WANGER
                                                          United States District Judge
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          SARABIA-MOTION & ORDER                 4




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      2
                                        CERTIFICATE OF MAILING
      3

      4
                 I hereby certify that on September 25, 2009, I electronically filed the foregoing with the
      5
          Clerk of the Court using the CM/ECF system which will send notification of such filing to the
      6
          following:
      7

      8
                                             KATHLEEN A. SERVATIUS
      9                                      AUSA
                                             kathleen.servatius@usdoj.gov
     10

     11

     12

     13
                                             /s/ Tom Stanley
                                             TOM STANLEY
     14                                      Attorney for Defendant
                                             315 W. 9th Street, Suite 906
     15                                      Los Angeles, CA 90015
     16
                                             (818) 986-1506 Office
                                             (213) 683-4803 Fax
     17                                      tomstanleylaw@yahoo.com
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          SARABIA-MOTION & ORDER                  5




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